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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION OF MUTUAL                       )
INSURANCE COMPANIES,                                 )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            )       No. 1:13-cv-00966 (RJL)
                                                     )
UNITED STATES DEPARTMENT OF                          )
HOUSING AND URBAN DEVELOPMENT,                       )
et al.,                                              )
                                                     )
               Defendants.                           )
                                                     )

                                   JOINT STATUS REPORT

       Plaintiff, National Association of Mutual Insurance Companies (“NAMIC”), asserts a

challenge under the Administrative Procedure Act to the application of the U.S. Department of

Housing and Urban Development’s (“HUD”) 2013 Rule, entitled Implementation of the Fair

Housing Act’s Discriminatory Effects Standard, 78 Fed. Reg. 11460 (Feb. 15, 2013) (A.R. 611)

(“the 2013 Rule”), to risk-based pricing and underwriting of homeowners, property, and hazard

insurance. After public notice-and-comment rulemaking, on September 24, 2020, HUD published

in the Federal Register a final rule replacing the 2013 Rule, which was set to take effect on October

26, 2020 (“the 2020 Rule”). See 85 Fed. Reg. 60288 (Sept. 24, 2020). On October 25, 2020, a

district court issued an order postponing the effective date of the 2020 Rule. See Mass. Fair Hous.

Ctr. v. U.S. Dep’t of Hous. & Urban Dev., No. CV 20-11765-MGM, 2020 WL 6390143 (D. Mass.).

       On September 14, 2020, NAMIC and Defendants, HUD and HUD Secretary, Benjamin

Carson, notified this Court that HUD had recently issued a final rule. See ECF No. 118. To

provide Plaintiff the opportunity to consider the rule, and the parties time to confer, the parties

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proposed that the case continue to be stayed for 91 days, or until December 14, 2020, at which time

they would submit a joint filing. See id. In a minute entry on September 14, 2020, the Court

granted the parties’ request, continued the stay in this case, and directed the parties to file a joint

status report on or before December 14, 2020, updating the Court and proposing any next steps in

this case. The parties have conferred and respectfully propose to continue the stay in this case for

60 days and file another joint status report on February 12, 2021. The parties’ respective positions

are as follows.

       Plaintiff’s Position: Because of the issuance of the nationwide preliminary injunction

postponing the effective date of the 2020 Rule in Massachusetts Fair Housing Center, the 2013

Rule remains in effect. Under Federal Rule of Appellate Procedure 4(a)(1)(B), the government

has until December 24, 2020, to file a notice of appeal of the court’s order. As the Court is no

doubt aware, in this case, Plaintiff’s motion for summary judgment challenging the 2013 Rule,

including on the ground that it fails to meet the requirements articulated by the Supreme Court in

Texas Department of Housing and Community Affairs v. Inclusive Communities Project, Inc., 135

S. Ct. 2507 (2015), has been fully briefed since October 28, 2016. At that time, Plaintiff reluctantly

agreed to multiple stays to allow for the then-new administration to fill certain senior government

positions and to consider the possibility of engaging in further rulemaking. Now, more than four

years later, the transition to yet another administration presents the potential for further substantial

delay. If it appears as of the next status report date that the new administration does not intend to

defend the 2020 Rule, Plaintiff intends to seek an argument date on its motion for summary

judgment at the Court’s earliest convenience.

       Government’s Position: As Plaintiff notes, the 2020 Rule has been enjoined, and the time


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for the Government to appeal has not run. In light of those circumstances, the Government agrees

with Plaintiff that extending the current stay in this case for another 60 days is appropriate. The

Government cannot represent at this time whether, as of February 12, 2021, it will be appropriate

to schedule oral argument on the pending motions for summary judgment with respect to the 2013

Rule. The Government would anticipate, however, continuing to work with Plaintiff and the Court

to propose appropriate next steps, including possibly the submission of updated briefing as

necessary.

                                         *      *       *

       A proposed order consistent with this motion is attached.

Date: December 14, 2020                             Respectfully submitted,


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